                  Case 1:25-cr-00154-KMN                          Document 10               Filed 06/24/25        Page 1 of 4

AO 199A (Rev . 06/ 19) Order Sc ningCondnions of Rel ease                                                             Page I of _ '-j__ Pages




                                         UNITED STATES DISTRICT COURT
                                                                         for th e
                                                            M iddle District of Pennsy lvania


                    United States of America
                                    V.
                           Harry Ha rtman
                                                                                          Case No.   1:25-CR-154-01


                               De(el/(la11/

                                         ORDER SETTING CONDITIONS OF RELEASE

IT I S ORDERED that the defendant"s release is ..;ubject to the-.;c conditions:

( 1)   The defendant must not viol ate federal. state. or local l,m \\ ililc 011 release .

(2)    The defendant must cooperat e in the collection ofa DNA ~ampl e if"it is authorized by 34 U.S.C.                    s40702.
(3)    The defendant mu st advise the court or the pretrial se rvices office or supervi sin g officer in writing before making
       any change of residence or telephone number.

( 4)   The defendant mu st appear in court as required and. if convicted. must surrender as directed to serve a sentence that

       the court may impose.

       T he defendant must appear at:              As Directed
                                                                                                 !'lace




       on
                                                                           I)ate <111cl Ti111e

       l r blank. defendant \\ i 11 be noti lied or ne.,t appearance.

(5 )   The defenda nt mu st sign an /\ ppearance l3ond. i r orde red.
                                                                                                                   FILED
                                                                                                                HARRISBURG, PA
                                                                                                                  JUN 24 2025
                                                                                                          PER       ;J;zf:
                                                                                                                  DEPUTY CLERK
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AO I99B (Re, I2/~fJ) Adc.!1t1011al Cnmht1n11sofR<'icasc


                                                          ADDITIONAL CONDITIO S OF RELEASE

Pursuant to 18 l '.S.C. ~ 3 l-12(c)( lJ(flJ. the court ma) impose the frillm,ing least rc,trictin: conclition(s) only as nccc,sar) to reasonably assure the
appearance ofthc pcrson as rcquirccl and the said) ol"an) other per~on and the community.

         IT IS l"l 'R 11 IER ORDI .RFD that thc del"t:nJant· s r.::kasc i, subject to the conditions marked bckm:

(0   )    (6)        !"he delcndant is placed in the custod) t11":
                    l'<.:rson or organi.'ation
             Address (011/_1· if uhun' ts an orgam:uuon1
             Cit) and state
who agrees to (al supcn·isc th.; ddcndant, (b) use e,..:ry effort to assure the dclend,ull·, appearan..:c at :ill court prn..:ccding,. ,md tc) notili the mun
immediately i!"thc dclendant ,·iolntes a condition of'rclcase or i, no longer in th<.: custodian·s custod).

                                                                                 Signed:
                                                                                                                 Custnd,an                                      Ume
(0   )    (7)     The dclcndant must:
         (0     ) (a) submit to supen i~ion b) and report for sup<.:n is ion to the        us Probation Office
                      telephone number        717-90 1-2860      . no later than
         ( D J (b)        continue or acti,·c:I) seek emplo) n1t.:nt.
         (0    ) (e)      continue or start an education program.
         ( 0   ) (cl)     surrender any passport to:
         ( [Z] J (c)      not obtain a passport or other international lr,n ..:I document.
         ( 0 ) (I)        abide b) the fol lo,, ing reslridions on personal association. residence. or tra1 el:      MDPA, MONG, New Jersey, Connecticut      c O /J tl
         (0     ) (gJ a,·uid al I rnntuct. directl.)- or indin:ctly, with ,tn) person ,1 ho is or llW) be a , ictim or\\ itness in the inn:stigation or prosecution.
                          including:


         (0     ) (h) gd medical or psychiatric trcatrm:nt:

         (0     )   (i)   return tocustod) each                      at                                                              11 'cl0L k l<H cmploylll<.:llt. schooling.
                          or the liJllm, rng purpo,e,

         (0 J UI maintain rc:,idcnc..: at a hall\1ay lwu,..: or u11nr11u11Il) c·u11L-clI0I1, n:nt-:1. a, the pr..:trial ,en ices oflic<.: or ,upen ising orticcr considers
                      nc:cc,sa~.
         (0     > (k) not posses, a lirc:arm. ckstructi1e de, ice. or other ,,capon.
         (0     ) (I) nut use alcohol ( D ) at all ( 0        ) cxccssi,cly.
         (0     > (mJ not use or unlm, full) possess a narcotic drug or other controlled substances dclin<.:d in 2 1 ll.S.C. ~ 80~, unless prescribed by a licensed
                          medical practitioner.
         ( [Z] ) (nJ submit to testing for a prohibited substance if're4uired by the pretrial services omce or supen·ising offi<.:er. Testing llHI) be used ,,ith
                     random lrcquenc) and ma) include urine testing. the ,,caring of' a s,,eat patch. a remote alcohol testing system. and/or any form of
                     prohibited substance screening or tesling. The defi.:ndant 11111st not ubstrud. attempt to ubstrucl. or tamper \\'ith the ..:fficienc) and accurac)
                     or prohibited substance screening or tcsling.
         ( [Z] ) (o) participate in a program of' inpalient or uutpati<.!nt substance: abu,' thcrap) and c,rnnscling if din:ctcd b) the pretrial sen il!es uflice or
                     supen ising o ffi<.:er.
         <O J (p) participale in on<.: oi'thc follu,1i11g location r·,1riction progrnrn, and cnmpl) ,,ith its requirements as directed.
                     ( 0 ) (iJ Curfc,,. You arc rcstrictcd to )Olli" rcsid..:ncc ..:,er) day ( D ) from                        to                   . or ( 0 ) as
                                   diri;:ctt.:d b) the pretrial sen iec·s offo:..: or su pcn i,ing ot'liccr: or
                     ( D   ) (ii) llomc Detention. You arc rcstrict.:d to your r..:sidenc<: al all times except for emplo) m..:nt: education: religious services:
                                  medical. substance abuse. or mental health treatment: anorney , isits: court appearances: court-ordered obligations: or other
                                  acti, itics nppm,ccl in ad, ancc b) the prdrial sen ices of"ficc or supcn i,ing olfo.:cr: or
                     t 0 ) (iii) ll omc Incarceration. You arc rc,trictcd to 24-huur-a-Ja) lock-dm,n at )Our residence e.,ccpt for medical necessities ;md
                                  court appi;:aranc..:s or other acti, iti..:s spccilicall) apprO\cd by the court: or
                     ( 0 ) (i,) Stand .\ lone i\lonitoring. You ha,c: no r<.:sidcntial curli.:,,. home detention, or home i11carccration restrictions. llowc,·er,
                                  you must comp!) ,,·ith the lorntion or tnncl restriction s as imposed b) the court.
                                  \"otc: Stand /\Ion~ \1onitori11g sh,,uld he used in conjunction ,,ith global positioning syste111 (CPS) technology.
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AO 199B (Re, 12/'.20) Additional Cnnd1t1011s of Rt'lcast'                                                                                l'agc ?) of '-/ Pages


                                                      ADDITIONAL CONDITIONS OF RELEASE

       ( D J (q) submit to the i(illo\\ ing location monitoring tc:chnolog) and comp I) ,, ith its rcquirc1m:nb a, dirc:dcd :
                    (0   ) ( i)   I ocation monitoring tccl111olog) ,h din:ctcd b) the rrctrial st:1Yicc:s or ,upcn ising ,inic:n· or
                    ( 0 ) (ii)    Voice Rec:ogn ition: or
                    <D ) (iii)    Radio Frcquene~: or
                    <0 J(i,)      GPS.
       (0   ) tr) pa) all or pa1i of the cost ofloeation rnonito1·ing based upon your ability to pay as determ ined b) the pretrial sen·iccs or supervising
                  officer.
       (0   ) (s) report as ,0011 a, possible. to the pretrial sen ices or supen ising orticer. c,·c ry contact ,,·ith la,,· enforcement personnel, including arrests.
                  questioning. or traffic stops.
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                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU A RE ADVISED OF THE FOLLO\VI G PENALTIES /\ND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest. a
revocation of your release, an order of detention, a forfeiture of any bond , and a prosecution for contempt of court and could result in
imprisonment. a fine. or both.
       While on release. if you commit a federal felony offense the puni shment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional pri son term of not more than one year. This sentence will be
consecutive (i.e .. in addition to) to any other sentence you receive.
       It is a crime puni shable by up to ten years in prison. and a $250.000 fine. or both. to: obstruct a criminal investigation:
tamper with a witness. victim, or informant: retaliate or attempt to retaliate against a witne ss, victim. or informant: or intimidate or attempt
to intimidate a witness, victim. juror. informant. or officer of the court. The penalties for tampering. retaliation. or intimidation are
signiticantl) more serious if they involve a killing or attempted h.illing.
       IL atier release.) ou knowingly fail to appear as the conditions or release require, or to surrender to serve a sentence.
you may be prosecuted for fai l ing to appear or surrender and additional puni~hment ma) be imposed. I f) ou arc com icted of:
       (I) an offcn,c punishable b) dcath. litc impn,,111ment. llr 11npri,onment for:.i term oflifteen yea,·, or more ynu ,~ill bc fined
             not more than $250.000 m imprisoned for lll>l 111orc than 10 )cars. or both:
       (2) an offcn~c puni,hable by imprisonment tnr a term of Ii, c) l'ar, or more. but less than tilken ycars ) ou will be tined not
             more than $250,000 or impri soned tor not more than ti, e) car,. ,1r hoth :
       (]) an) other felony       you will be fined not mun: thJn $2°'0.00tl or imprisoned not more than two )Cars. or both:
       (4) a misdemeanor - you will be fined not more than $100.000 or imprisoned not more than one year. or both.
       ;\ term of impri so nment imposed tor failure to appear or surrender will be consecutive to any other sentence you receive. In
addition. a failure to appear or surrender may result in the forfeiture or any bond posted.

                                                  Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of rel ease. to appear as directed, and surrender to se rve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                         _Jr         ~                      ,1,,,,,,,,·,s,,m,,,,,,

                                                       --\' Gt,.RN G'-1'                   \f;e':.'ls!?' i PA
                                               Directions to the United States Marshal

        The defendant is ORDERED released after processing.
        The L"nited States marshal is ORDER[· D to keep the dL kndzint in cus nd) until notified h) the clerk or judge that the defendant
        has posted bond and or complied~, ith al l other conditJlllh f(\I. rc'k,h' 11 ,t ill 111 cu,tod1. the dekndant must be produced he fore
        the appropriate judge <1l the tim e and place specifil'd.


Date:      ~ /z I   1{ Z-o Z-<




                    DISTRl81JTION     COURT       Dl"FENDAl\/T    l'RETRI \I srnv1cr      Ll. S ATTORNEY             lJ S I\MRS IIAI.
